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 8
                           UNITED STATES DISTRICT COURT
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                         CENTRAL DISTRICT OF CALIFORNIA
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11
       ANDREW ARMBRISTER,                      Case No. 5:20-cv-00034-JLS (GJS)
12
                   Plaintiff
13                                              JUDGMENT
              v.
14
       SANDOVAL,
15
                   Defendants.
16
17         Pursuant to the Court’s Order Dismissing Action Without Prejudice,
18
19         IT IS ADJUDGED that the above-captioned case is dismissed without
20   prejudice.
21
22
     DATED: November 1, 2020
23
24                                        _______________________________
25                                        JOSEPHINE L. STATON
                                          UNITED STATES DISTRICT JUDGE
26
27
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